




NO. 07-05-0095-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



AUGUST 1, 2005

______________________________



JOSEPH PAUL CASTILLO,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 108th DISTRICT COURT OF POTTER COUNTY;



NO. 47,171-E; HON. ABE LOPEZ, PRESIDING

_______________________________



ON MOTION TO DISMISS



__________________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant Joseph Paul Castillo, by and through his attorney, has filed a motion to dismiss this appeal because he no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Do not publish.


